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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

JOSH BRKICH,

       Petitioner,

vs.                                                         Civ. No. 09-226 JP/WDS

FEDERATED MUTUAL INSURANCE
and ALCON’S ENTERPRISES, INC.
d/b/a R & S Honda Polaris,

       Respondents.

                          MEMORANDUM OPINION AND ORDER

       On April 10, 2009, RSA Enterprises, LLC d/b/a R & S Honda Polaris (RSA) filed

Respondent RSA Enterprises, LLC’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6)

(Doc. No. 13).1 Having reviewed the briefs and relevant law, the Court determines that RSA’s

motion to dismiss should be granted as to the declaratory judgment claim brought against RSA

under the New Mexico Declaratory Judgment Act, and that Petitioner Josh Brkich (Petitioner)

should be allowed to amend his Petition for Declaratory Judgment (Doc. No. 1-2)(Petition) to

bring any other claims he may have against RSA.

A. Background

       On February 5, 2009, Petitioner, a New Mexico citizen, filed his Petition in state court

against Federated Service Insurance Co. (Federated),2 a Minnesota corporation, and RSA, a New


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         The parties dispute whether RSA should be a named respondent instead of “Alcon’s
Enterprises, Inc. d/b/a R & S Honda Polaris” (Alcon). However, for the purpose of deciding this
motion to dismiss, Petitioner agreed to refer to both RSA and Alcon together as “RSA.” Since
the briefs refer to RSA instead of Alcon, the Court will likewise refer to RSA for the sake of
consistency.
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         Respondents contend that Federated Service Insurance Co. is incorrectly named in the
Petition as “Federated Mutual Insurance.” Petitioner does not dispute this contention.
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Mexico corporation which sells and repairs motorcycles. Petitioner, a former employee of RSA,

alleges in the Petition that on August 22, 2008 he was repairing a motorcycle for RSA. In

making the repairs, Petitioner was required to drive the motorcycle around the block. While

Petitioner was riding the motorcycle a vehicle driver struck Petitioner. Petitioner was seriously

injured and “[t]he medical bills alone will total hundreds of thousands of dollars.” Petition at ¶8.

The vehicle driver had only $100,000 in liability coverage. Consequently, Petitioner made a

claim for underinsured motorist coverage with RSA. Although it is not clear from the briefing,

RSA presumably submitted Petitioner’s claim to Federated, RSA’s insurer. Federated denied

Petitioner’s claim because RSA completed a New Mexico Commercial Auto Coverage Option

Form wherein RSA rejected uninsured/underinsured motorist coverage for non-management

employees like Petitioner.3 Ex. A (attached to Petition). RSA agreed with Federated’s decision.

Petitioner alleges in the Petition that the “rejection form is not clear and ineffective and violated

New Mexico statutes, case law and public policy.” Petition at ¶13. Petitioner, therefore,

“requests that this Court grant a hearing on this matter and declare that the rejection form

attached as Exhibit ‘A’ is not valid and that there is $500,000 in available un/underinsured

motorist coverage and for such other relief as this Court may deem appropriate.” Id. at 2.

       On March 9, 2009, Federated timely filed a Notice of Removal which RSA consented to.

Federated removed this case based on diversity jurisdiction. See 28 U.S.C. §1441(b); 28 U.S.C.

§1332(a). Federated asserted in the Notice of Removal that Petitioner fraudulently joined RSA

to defeat diversity of citizenship because Petitioner, at the time of removal, had not pled a valid



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        The New Mexico Commercial Auto Coverage Option Form, however, also indicated
that RSA accepted uninsured/underinsured motorist coverage for management level employees.
That policy had a $500,000 limit.

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claim against RSA in the Petition. Federated also argued that if RSA is a proper party, it is a

nominal party whose citizenship should be ignored in determining diversity jurisdiction.

       In response to the Notice of Removal, Petitioner filed Petitioner’s Motion to Remand

(Doc. No. 8) on March 18, 2009. Petitioner argued, among other things, that he did not

fraudulently join RSA because there is a possibility that he may have a valid claim against RSA

for the common law tort of negligent misrepresentation. See UJI 13-1632, NMRA 1998 (2005).4

To prove that there is a possibility that he has a claim of negligent misrepresentation against

RSA, Petitioner filed a post-removal affidavit wherein he stated under oath that: 1) RSA

provided employees with automobile insurance cards four or five years ago; 2) sometime

thereafter, RSA no longer issued automobile insurance cards and had changed insurance

companies; 3) Petitioner, however, still believed he was covered by uninsured/underinsured

motorist insurance; 4) RSA never told Petitioner he was not covered by uninsured/underinsured

motorist insurance; and 5) if Petitioner had known that he was not covered by

uninsured/underinsured motorist insurance, he would not have driven any of RSA’s vehicles.

Interestingly, Petitioner admitted that he does not have a negligent misrepresentation cause of

action against RSA at this time “because there are no damages until this declaratory judgment is

decided.” Petitioner’s Reply to Motion to Remand at 1 (Doc. No. 14), filed April 24, 2009.



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        UJI 13-1632 states:

       A party is liable for damages caused by his negligent and material misrepresentation.

       A material misrepresentation is an untrue statement which a party intends the other party
       to rely on and upon which the other party did in fact rely.

       A negligent misrepresentation is one where the speaker has no reasonable ground for
       believing that the statement made was true.

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Petitioner also noted that he is not seeking to amend the Petition to include the negligent

misrepresentation cause of action against RSA. On May 20, 2009, the Court denied the motion

to remand on the basis of fraudulent joinder concluding that Defendants “demonstrated with

clear and convincing evidence that at the time of removal the Petition did not contain a possible

cause of action against RSA.” Memorandum Opinion and Order (Doc. No. 19) at 7.

B. Standard of Review

        Under Fed. R. Civ. P. 12(b)(6), a court may dismiss a complaint for “failure to state a

claim upon which relief can be granted.” In ruling on a Rule 12(b)(6) motion to dismiss, the

Court accepts all well-pleaded allegations as true and views them in the light most favorable to

the plaintiff. See Zinermon v. Burch, 494 U.S. 113, 118 (1990); Swanson v. Bixler, 750 F.2d 810,

813 (10th Cir.1984). Rule 12(b)(6) requires that the complaint set forth the grounds of plaintiff's

entitlement to relief through more than labels, conclusions and a formulaic recitation of the

elements of a cause of action. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). While

the complaint does not need to include detailed factual allegations, “factual allegations must be

enough to raise a right to relief above the speculative level.” Id. In other words, dismissal of a

complaint under Rule 12(b)(6) is proper only where it is obvious that the plaintiff failed to set

forth “enough facts to state a claim to relief that is plausible on its face.” Id. at 570.

        A claim has facial plausibility when the plaintiff pleads factual content that allows the
        court to draw the reasonable inference that the defendant is liable for the misconduct
        alleged. The plausibility standard is not akin to a “probability requirement,” but it asks
        for more than a sheer possibility that a defendant has acted unlawfully. Where a
        complaint pleads facts that are “merely consistent with” a defendant’s liability, it “stops
        short of the line between possibility and plausibility of ‘entitlement to relief.’”

Ashcroft v. Iqbal, 556 U.S. ___, ___ S.Ct. ___, 2009 WL 1361536 *12 (2009)(citations omitted).




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C. Discussion

       RSA argues first that the motion to dismiss should be granted because Petitioner does not

have a claim against RSA under the New Mexico Declaratory Judgment Act. Second, RSA

asserts that it is simply not a necessary party to this lawsuit. Third, RSA contends that

Petitioner’s post-removal affidavit does not allege a viable claim against RSA.

       The New Mexico Declaratory Judgment Act provides for declaratory judgment actions

only “[i]n cases of actual controversy....” NMSA 1978, §44-6-2 (1975). RSA argues that the

Petitioner does not allege in the Petition an actual controversy between himself and RSA. RSA

notes that Petitioner is merely asking for a declaratory judgment regarding coverage under the

Federated insurance policy. RSA maintains that Petitioner is not asserting in the Petition that

RSA is somehow responsible for providing or paying for insurance coverage it did not purchase.

Moreover, RSA observes that Petitioner does not claim in the Petition that RSA caused

Petitioner’s physical injuries.

       Petitioner, on the other hand, asserts that RSA will be exposed to liability if the Court

denies the Petition because RSA represented to its employees that it was providing

uninsured/underinsured motorist insurance coverage; RSA failed to inform employees that it had

rejected that coverage; and because RSA executed the uninsured/underinsured insurance

rejection form. As detailed in the Memorandum Opinion and Order denying Petitioner’s motion

to remand, the Petition simply does not contain any factual allegations regarding RSA’s

representations to employees about uninsured/underinsured motorist insurance coverage or




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RSA’s failure to inform employees about the rejection of that insurance coverage.5 Without

those factual allegations, Petitioner has failed to allege a plausible claim against RSA based on

RSA’s purported misrepresentation of information to employees or its failure to inform

employees regarding the rejection of uninsured/underinsured motorist insurance coverage.

       In addition, it is noteworthy that, according to Petitioner, his claims of liability against

RSA only ripen if the Court denies the Petition. To meet the “actual controversy” requirement

of a declaratory judgment action, the issue presented to the court must be “real and not

theoretical,” the parties must have a “real interest” in the issue, and the issue itself must be ripe

for determination.6 State ex rel. Stratton v. Roswell Independent Schools, 111 N.M. 495, 507,

806 P.2d 1085, 1097 (Ct. App. 1991)(citations omitted). By Petitioner’s own admission, his

claims of liability against RSA are merely theoretical at this time and will not ripen unless the

Court denies the Petition. Petitioner, therefore, has not alleged an “actual controversy” with

RSA. Consequently, Petitioner has failed to allege sufficient facts in his Petition to support a

plausible claim against RSA under the New Mexico Declaratory Judgment Act.

       Since the Court has determined that Petitioner has not stated a claim against RSA under

the New Mexico Declaratory Judgment Act, it is unnecessary for the Court to address RSA’s


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         Although Petitioner does not now collectively refer to these alleged actions and
inactions by RSA as the tort of negligent misrepresentation, Petitioner previously did so in his
briefing on the motion to remand. Furthermore, in responding to the motion to dismiss,
Petitioner continues to state that he “is not seeking to amend the complaint to include a tort
claim. Such a claim cannot be made unless uninsured motorist coverage is denied.” Petitioner’s
Response to Motion to Dismiss (Doc. No. 16) at 3, filed April 25, 2009.
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        “[T]he purpose of ripeness is to ‘conserve judicial machinery for problems which are
real and present or imminent, not to squander it on abstract or hypothetical or remote
problems.’” ACLU v. City of Albuquerque, 2007-NMCA-092 ¶7, 142 N.M 259 (quoting New
Mexico Indus. Energy Consumers v. New Mexico Pub. Serv. Comm’n, 111 N.M. 622, 629-30,
808 P.2d 592, 599-600 (1991)).

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other arguments in support of the motion to dismiss. Furthermore, although Petitioner may not

have stated a claim against RSA based on the declaratory judgment action set forth in the

Petition, the Court will allow Petitioner to amend his Petition to bring any other plausible causes

of action against RSA.

       IT IS ORDERED that:

       1. Respondent RSA Enterprises, LLC’s Motion to Dismiss Pursuant to Fed. R. Civ. P.

12(b)(6) (Doc. No. 13) is granted;

       2. Petitioner’s claim against RSA brought under the New Mexico Declaratory Judgment

Act will be dismissed without prejudice; and

       3. Petitioner has until June 30, 2009 to file an amended Petition raising any other

plausible claims Petitioner may have against RSA.




                                      _______________________________________
                                      SENIOR UNITED STATES DISTRICT JUDGE




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